               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:18-cv-00044-MR

ADAM WADE HALL,                  )
                                 )
              Plaintiff,         )
                                 )
vs.                              )
                                 )
TERESA PUETT, et al.,            )                       ORDER
                                 )
              Defendants.        )
________________________________ )

       THIS MATTER is before the Court on the Parties’ Stipulation of

Dismissal [Doc. 56]. Also pending are several pro se Motions. [Docs. 48,

54].

       This pro se civil rights action is scheduled for a jury trial on January 11,

2021. [See Doc. 47]. However, the parties now stipulate pursuant to Fed.

R. Civ. P. 41(a)(1)(ii) that all claims and parties are dismissed with prejudice.

[Doc. 56].

       In light of the parties’ Stipulation, this case will be removed from the

Court’s trial calendar. The Clerk of Court will be instructed to terminate and

close this action.

       IT IS THEREFORE ORDERED that the jury trial set for January 11,

2021 is CANCELLED.



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      The pending Motions [Docs. 48, 54] are DENIED as moot.

      IT IS FURTHER ORDERED that the Clerk is instructed to terminate

and close this action.

      IT IS SO ORDERED.
                          Signed: October 19, 2020




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